
PER CURIAM.
This is an election contest instituted un der the provisions of LSA-R.S. 18:420. That statute provides that when an appeal is taken in such a case the appellate court will decide the issue within 24 hours after submission. LSA-R.S. 18:420E.
After considering the facts, the law and the arguments of counsel, we have concluded that there is no error in the judgment rendered by the trial court.
In view of the provisions of LSA-R.S. 18:420E, we have decided to render judgment at this time affirming the judgment appealed from. Reasons for that judgment will be assigned at a later date.
The judgment dismissing plaintiff’s suit is affirmed. The costs of this appeal are assessed to plaintiff, Conrad Fuselier.
Appeal from the Thirteenth Judicial District Court, Parish of Evangeline, State of Louisiana; Honorable J. Burton Foret, District Judge, Presiding.
Before HOOD, CULPEPPER, DO-MENGEAUX, WATSON and GUIDRY, Judges.
HOOD, Judge.
For the reasons which we are assigning today in Roger Dale McGee v. Conrad Fuselier et al., 330 So.2d 383 (No. 5506 on our docket), we hereby affirm the judgment which we rendered in the instant suit on April 7, 1976. The judgment appealed from is affirmed. The costs of this appeal are assessed to plaintiff, Conrad Fuselier.
AFFIRMED.
DOMENGEAUX, J., concurs in the decree.
WATSON, J., concurs in the result.
